   Case 19-20063-MBK                Doc 26       Filed 08/04/20 Entered 08/04/20 12:09:01                       Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY



  Albert Russo
  CN 4853
  Trenton, NJ 08650
  609-587-6888
  Standing Chapter 13 Trustee

  In re:

  Damien M Jackson
                                                                      Case No.: 19-20063 / MBK

                                                                      Chapter: 13
                                     Debtor
                                                                      Judge: Michael B. Kaplan


                                     NOTICE DEPOSITING UNCLAIMED FUNDS
                                        PURSUANT TO D.N.J. LBR 3011-1(a)


    Albert Russo, Trustee in the above captioned matter states that the entire amount in the Trustee's Account has
been disbursed and that the following funds remain unclaimed.                     The undersigned shall immediately forward a
check to the court in the amount of $3,305.77, payable to the Clerk, United States Bankruptcy Court.                    The parties
entitled to said funds are listed below together with their last known address.


                                PAYEE NAME AND ADDRESS                                                   AMOUNT

     Damien M Jackson - Debtor's Refund                                                                          $3,305.77
     529 Buttonwood Drive
     Jackson, NJ 08527




DATED: 8/4/2020                                                                                      /s/ Albert Russo
                                                                                          Albert Russo
                                                                                          Standing Chapter 13 Trustee
